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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          HELENA DIVISION


FORT HARRISON VETERANS
RESIDENCES, LP,                           Case 6:24-CV-00037-BMM-KLD

                 Plaintiff,
                                          BRIEF IN SUPPORT OF MOTION
     v.                                   TO DISMISS FOR FAILURE TO
                                          JOIN INDISPENSABLE PARTY
MONTANA DEPARTMENT OF
COMMERCE, in its official
capacity and as a federally
designated public housing agency,

                 Defendant.


                              INTRODUCTION

     The Plaintiff’s Complaint should be dismissed if the United States

Department of Housing and Urban Development (“HUD”) is not joined as a

party defendant. Plaintiff’s requested declaratory relief leaves the door

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open for HUD to disagree with Plaintiff’s application of HUD’s regulations

and take action against the Montana Department of Commerce (“MDOC”),

subjecting MDOC to multiple and conflicting obligations. Plaintiff requests

declaratory relief regarding housing assistance payments (“HAP”), made

with funds appropriated by Congress to HUD, and administered by MDOC

to subsidize the Plaintiff’s Project Based Veterans Affairs Supportive

Housing (“PB-VASH”) project at Fort Harrison. This is a fight over HUD’s

requirements and the execution of HUD’s money. HUD has equities in this

litigation and needs to be a party.

                         FACTUAL BACKGROUND

      MDOC and Plaintiff are parties to a HAP contract related to the

operation of the PB-VASH property on the Fort Harrison VA campus called

Freedom’s Path. MDOC and the Plaintiff are in a dispute about whether

the Plaintiff is required to take corrective action in the form of abatement or

interim controls to address the presence of lead-based paint in the interior

and exterior of dwelling units and other lead hazards in bare soils in

outdoor common areas. MDOC operates as the public housing authority

(“PHA”) administering HUD funds which are paid to the Plaintiff as the

property owner. Both parties dispute compliance with HUD’s regulations in

Title 24 of the Code of Federal Regulations. As reflected in the Plaintiff’s

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Complaint, the Plaintiff takes the position that it is not required to address

lead hazards as a condition to receiving its HAP from MDOC. MDOC, for

its part, takes the position that it is prohibited from providing HAP to Plaintiff

for units with lead hazards which are not abated or controlled and

privileged to withhold all HAP for the Freedom’s Path project because

Plaintiff has not properly addressed the lead hazards at the property.

Rather than address the lead hazards, Plaintiff filed the instant lawsuit.

      HUD is not a signing party to the HAP contract, but the HAP contract

is on HUD’s prescribed form issued by HUD’s regulatory authority and HUD

has express remedies under the HAP contract.

      If HUD determines that the PHA has failed to comply with the
      HAP contract, or has failed to take appropriate action to HUD's
      satisfaction or as directed by HUD, for enforcement of the
      PHA's rights under the HAP contract, HUD may assume the
      PHA's rights and obligations under the HAP contract, and may
      perform the obligations and enforce the rights of the PHA under
      the HAP contract.

Plaintiff’s Complaint (Doc. 1), Ex. E p. 46 (HAP Contract, Pt. 2, ¶ 14).

      The Freedom’s Path project is a multifamily project based voucher

project which receives, on average, more than $5,000 per assisted dwelling

unit annually in project based assistance. Decl. Cheryl Cohen, ¶ 3 (Jul. 2,

2024). MDOC has been in regular communication with HUD regarding the

situation at Freedom’s Path. In contradiction to allegations in the Plaintiff’s

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Complaint, and among other things, HUD representatives have advised

MDOC that:

      -HUD considers lead-based paint hazards to be housing quality

standards (“HQS”) violations. Id. at Ex. 1 p. 1 (Radosevich Email, Jul. 31,

2023).

      -PHAs have authority under 24 C.F.R. § 983.103(e)(1) to inspect

project based voucher (“PBV”) units for HQS violations at the PHA’s

discretion. Id.

      -A venous blood draw on a child under the age of six done at a

doctor’s office and which is reported to the property owner by the local

public health department which reflects blood lead levels exceeding the

prescribed federal threshold qualifies to trigger the provisions of 24 C.F.R.

§ 35.730. Id. at Ex. 2 p. 1 (Urban Memo, Apr. 17, 2024).

      -Lead-based paint hazards can be identified through visual

assessments, risk assessments, or tenant complaints, and HQS violations

can be identified through routine inspections, special inspections, or tenant

complaints. Id. at Ex. 3 p. 1 (Urban Memo, May 24, 2024).

      -PHAs are obligated to determine the appropriate remedy when an

owner violates its HAP contract obligations. Id. at Ex. 4 p. 1 (Urban Letter,

March 8, 2024).

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      These points are exemplary of the Plaintiff’s misapplication of HUD’s

regulations in this dispute and are offered here to show the risk that if the

Plaintiff is granted the relief it requests, MDOC will be subject to conflicting

claims from HUD.

                         STANDARD OF DECISION

Federal Rule of Civil Procedure 19 states:

      (a) Persons Required to Be Joined if Feasible.
          (1) Required Party. A person who is subject to service of
      process and whose joinder will not deprive the court of subject-
      matter jurisdiction must be joined as a party if:
              (A) in that person’s absence, the court cannot accord
      complete relief among existing parties; or
              (B) that person claims an interest relating to the subject
      of the action and is so situated that disposing of the action in
      the person’s absence may:
                 (i) as a practical matter impair or impede the person’s
      ability to protect the interest; or
                 (ii) leave an existing party subject to a substantial risk
      of incurring double, multiple, or otherwise inconsistent
      obligations because of the interest.

      The district court can consider affidavits beyond the pleadings when

determining whether an absent party is indispensable. McShan v. Sherrill,

283 F.2d 462, 464 (9th Cir. 1960).

                                 ARGUMENT

      HUD is an indispensable party in this action because MDOC may be

subject to conflicting obligations unless HUD is also bound by the Court’s



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decision. Federal courts have joined HUD as an indispensable party to

cases between subsidized housing project owners or residents and PHAs

when the validity of HUD’s regulations have been challenged, and not

joined HUD when regulations are simply being applied in a civil action. Cf.

Wilson v. Seattle Housing Authority, C09-226 2009 U.S. Dist. LEXIS

144911, *5-6 (W.D. Wash. Aug. 9, 2009) (finding HUD a required party in a

lawsuit challenging HUD hearing requirements); Edgecomb v. Housing

Authority of the Town of Vernon, 824 F. Supp 312, 314 (D. Conn. 1993)

(finding HUD not a required party in a lawsuit alleging violation of HUD

regulations by a PHA). HUD has also been found to be indispensable

when the resolution of a case may impact HUD’s implementation of its own

policies or practices. Boles v. Greenville Housing Authority, 468 F.2d 476,

478-79 (6th Cir. 1972).

      As a preliminary matter, joining HUD is feasible and would not

destroy jurisdiction in this case. The Plaintiff’s claims invoke the Court’s

federal question jurisdiction as applied to a federally subsidized housing

project within the Helena Division of the District of Montana. The United

States waived sovereign immunity for claims against HUD related to the

Housing Act of 1937. 42 U.S.C. § 1404a. Joinder of HUD is feasible.

Therefore, MDOC will jump straight to the Rule 19(a)(1)(B)(ii) analysis.

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      If Plaintiff’s requested relief is granted and MDOC is ordered to pay

Plaintiff in spite of the lead hazards at Freedom’s Path, HUD will be able to

recover payments it does not believe MDOC should have made to Plaintiff

in consideration of the lead hazards at Freedom’s Path. That leaves

MDOC open to multiple and inconsistent obligations without HUD as a

party to this action. “‘There is no precise formula for determining whether a

particular nonparty should be joined under Rule 19(a). . . . The

determination is heavily influenced by the facts and circumstances of each

case.’ N. Alaska Envtl. Ctr. v. Hodel, 803 F.2d 466, 468 (9th Cir. 1986)

(quoting Bakia v. County of Los Angeles, 687 F.2d 299, 301 (9th Cir. 1982)

(per curiam)) (alterations in original).’” EEOC v. Peabody W. Coal Co., 610

F.3d 1070, 1081 (9th Cir. 2010).

      MDOC will provide an overview of the application of HQS as a

precondition to the provision of HAP to a property owner before arguing

that Plaintiff’s Complaint creates the likelihood of inconsistent obligations.

              Housing Quality Standards as a Precondition for
                      Housing Assistance Payments

      The Freedom’s Path project is federally subsidized housing under the

overarching statutory authority of 42 U.S.C. 1437f. Freedom’s Path

receives project based funding, as opposed to tenant based funding.


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Project based and tenant based assistance have similar, but not identical,

regulatory schemes. HUD has established HQS for housing receiving

project based assistance. The HQS for PBV projects are contained at 24

C.F.R. § 983.101 (2023) 1. That section incorporates by reference 24

C.F.R. § 982.401 (applicable to tenant based assistance), with a limited

exception related to lead-based paint.

        While 24 C.F.R. § 982.401 applies the lead-based paint rules in 24

C.F.R. Part 35, Subparts, A, B, M, and R to tenant based assistance, 24

C.F.R. § 983.101 applies the lead-based paint rules in 24 C.F.R. Part 35,

Subparts, A, B, H and R to project based assistance. Freedom’s Path

receives project based assistance. The difference in the lead-based paint

rules between tenant based voucher and PBV projects is the application of

Subpart M to tenant based assistance and the application of Subpart H to

project based assistance. The titles to these subparts in Part 35

appropriately reflect the types of projects. Plaintiff alleges it was not

obligated to take any action by 24 C.F.R. Part 35. Pl.’s Compl., ¶ 63.

        Lead hazards are included in HQS. The purpose of Subpart H is,

“...to eliminate as far as practicable lead-based paint hazards in residential


1 All citations to regulations are to the versions in effect on May 15, 2023, which is the relevant date for

this dispute. HUD recently revised its regulations to roll out a new program called NSPIRE, which is not
applicable to the time period in issue in Plaintiff’s Complaint.


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properties receiving project-based assistance under a HUD program.” 24

C.F.R. § 35.700(a). The requirements in Subpart H, “...apply only to the

assisted dwelling units in a covered property and any common areas

servicing those dwelling units.” Id.

      The Freedom’s Path project is subject to the HQS requirements of 24

C.F.R. § 982.401 except as otherwise provided in 24 C.F.R. § 983.101.

The Freedom’s Path project is subject to the provisions of 24 C.F.R. §

35.715 because it is a multifamily project which receives more than $5,000

per assisted dwelling unit annually in project based assistance. Decl.

Cohen, ¶ 3. This requires ongoing monitoring for lead hazards and the

completion of interim controls to address new lead hazards as they are

discovered on a property. It also requires certain actions when a child

under the age of six residing on the property is found to have elevated

blood lead levels, but elevated blood lead levels are not the only trigger to

remove lead hazards. As one federal district court has stated in the

application of a different HUD regulatory scheme:

      However, the law requires abatement of unacceptable levels of
      paint in the home, not just abatement when blood levels in
      children rise above a statutorily defined threshold. In addition,
      “the ingestion of household dust containing lead from
      deteriorating or abraded lead-based paint is the most common
      cause of lead poisoning in children.” 42 U.S.C. § 4851; See
      Rosen Aff. P 24 (citing Agency for Toxic Substances and

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     Disease Registry (ATSRD) of the Public Health Service’s
     report: The Nature and Extent of Lead Poisoning in Children in
     the United States: A Report to Congress (1988) (the “ATSRD
     Report”).

German v. Fed. Home Loan Mortg. Corp., 885 F. Supp. 537, 549 (S.D.N.Y.

1995). MDOC, as the PHA, is obligated to monitor the Freedom’s Path

property to ensure it remains compliant with HQS including controlling lead

hazards.

     MDOC is obligated to inspect Freedom’s Path whenever necessary to

ensure HQS compliance. Plaintiff alleges MDOC was not permitted to

inspect Freedom’s Path. Pl.’s Compl., ¶¶ 66-83. The parties’ HAP

Contract (Pl.’s Compl., Exhibit E p. 46) provides at page 8 of Part 2 of HUD

Form 52530B:

     The PHA must inspect contract units whenever needed to
     determine that the contract units comply with the HQS and that
     the owner is providing maintenance, utilities, and other services
     in accordance with the HAP contract. The PHA must take into
     account complaints and any other information that comes to its
     attention in scheduling inspections.

This contract language is identical to 24 C.F.R. § 983.103(e)(1). As noted

throughout Plaintiff’s Complaint, MDOC has inspected the Freedom’s Path

property and found lead hazards which need to be addressed.

     MDOC is obligated under 24 C.F.R. § 983.208(b)(1) to “...vigorously

enforce the owner’s obligation to maintain contract units in accordance with

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the HQS.” Moreover, “The PHA may not make any HAP payment to the

owner for a contract unit covering any period during which the contract unit

does not comply with the HQS.” 24 C.F.R. § 983.208(b)(1).

      If MDOC provides HAP to Plaintiff for Freedom’s Path, when that

project is out of compliance with HQS, HUD can subject MDOC to

monetary penalties for HAP which HUD determines should not have been

paid to Plaintiff. On March 8, 2024, the Denver Field Office of Public

Housing reminded MDOC of its rights and obligations under the HAP

contract as expressed in PIH Notice 2023-06, entitled “Notice on Remedies

PHAs have for Poor Performing Owners in the Housing Choice Voucher

and Project-Based Voucher Programs.” Decl. Cohen, Ex. 4. MDOC is

forbidden by HUD regulation from making the HAP which the Plaintiff

demands in its Complaint.

      If this Court orders MDOC to pay HAP to the Plaintiff in spite of the

presence of uncontrolled lead hazards without HUD as a party, HUD

retains the right and obligation to penalize MDOC for failure to enforce

HQS. This subjects MDOC to multiple and conflicting obligations. The

regulatory scheme at the heart of Plaintiff’s Complaint is HUD’s regulatory

scheme, and the money Plaintiff demands from MDOC is HUD’s money.

HUD must be a party for the court to fully and finally adjudicate this dispute.

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                                CONCLUSION

      Plaintiff’s claims should be dismissed unless Plaintiff is willing to

amend its Complaint to join HUD as a party defendant. If the Plaintiff is

awarded the relief it requests, MDOC will be made to pay the Plaintiff and

then be subject to liability to HUD for having made that payment to Plaintiff.

HUD will also have its contractual remedies foreclosed, if it chooses to step

into the shoes of MDOC as provided in the HAP contract. HUD must be a

party to this action.

      DATED this 2nd day of July, 2024.


                                 JACKSON, MURDO, & GRANT, PC

                                 By:________________________________
                                     Michael P. Talia
                                 Attorneys for Montana Department of
                                 Commerce




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                     CERTIFICATE OF COMPLIANCE

     I certify that the foregoing brief totals 2,393 words as calculated by
Microsoft Word, excluding the caption, certificates, tables, and index, if any.

                                    ___________________________
                                    Michael P. Talia


                        CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing document was served on the
following using the court’s CM/ECF system on the 2nd day of July, 2024.

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